     Case 2:06-cr-00210-LDG-VCF     Document 1172    Filed 05/09/12   Page 1 of 1




 1

 2

 3

 4

 5

 6

 7                       UNITED STATES DISTRICT COURT
 8                                 DISTRICT OF NEVADA
 9

10   UNITED STATES OF AMERICA,

11         Plaintiff,                          Case No. 2:06-cr-00210-LDG (VCF)

12   v.                                        ORDER

13   SHERRIE SHUTT,

14         Defendant.

15

16         For good cause shown,

17         THE COURT ORDERS that Defendant Sherrie Shutt’s Unopposed Motion to Modify

18   a Condition of Supervised Release (## 1169, 1171) is GRANTED;

19         THE COURT FURTHER ORDERS that the Defendant’s Condition of Supervised

20   Release that she is to have no contact with Thomas Hunter is REMOVED.

21

22    DATED this ______ day of May, 2012.
23

24                                                        Lloyd D. George
                                                          United States District Judge
25

26
